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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR               :
PRESIDENT, INC., et al,           : CIVIL ACTION
                                  :
     Plaintiffs,                  : No. 4:20-cv-02078
                                  :
     v.                           : Judge Brann
                                  :
KATHY BOOCKVAR, et al,            :
                                  :
     Defendants                   :

                         ORDER DENYING
                   DEFENDANT’S MOTION TO QUASH


     Upon consideration of the Motion to Quash, it is hereby DENIED on this

______ day of November, 2020.

     SO ORDERED.



                                       BY THE COURT:



                                       _________________________
                                       Matthew W. Brann
                                       United States District Judge
